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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


  JILL BABCOCK, et al.,                         Case No.: 2:22-cv-12951

        Plaintiffs,                             JUDGE JONATHAN J.C. GREY

  v.

  STATE OF MICHIGAN, et al.,

        Defendants.

                 PLAINTIFFS’ OPPOSITION TO
    DEFENDANT DETROIT-WAYNE JOINT BUILDING AUTHORITY’S
    MOTION TO COMPEL DISCLOSURE AND DISCOVERY AGAINST
              PLAINTIFFS BABCOCK AND MADDOX

       Plaintiffs Jill Babcock, Marguerite Maddox, and Ashley Jacobson, through

 undersigned counsel, respectfully submit this Opposition to Defendant Detroit-

 Wayne Joint Building Authority’s (DWJBA) Motion to Compel Disclosure and

 Discovery Against Plaintiffs Babcock and Maddox (“Motion”) (ECF No. 140). The

 Motion must be denied for the reasons stated below.

                                  INTRODUCTION
       As the Advisory Committee to the 1980 Amendment to the Federal Rules of

 Civil Procedure made clear, discovery is not intended to be a weapon used by well-

 resourced parties against more vulnerable, less resourced, and, in this case, disabled

 parties: “[T]he spirit of the rules is violated when advocates attempt to use discovery

 tools as tactical weapons rather than to expose the facts and illuminate the issues by


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 overuse of discovery or unnecessary use of defensive weapons or evasive

 responses.” Fed. R. Civ. P. 26 advisory committee’s note to 1980 amendment. For

 the reasons outlined in this Brief, this is exactly the intent of DWJBA’s Motion, and

 this Court must not allow it to succeed.

                                  BACKGROUND
       Plaintiffs have responded in good faith to DWJBA’s discovery requests and

 its Motion is both frivolous and in violation of L.R. 7.1. Plaintiff provided DWJBA

 with responsive documents on October 16, 2024, and on October 28, 2024, all of

 which were downloaded by DWJBA’s attorney Gregory Longworth.

       Plaintiffs responded and objected to the Admissions Requests on October 4,

 2024, ECF 140-5 and 140.6. Plaintiffs responded and objected to the Interrogatories

 and Documents Requests on October 15, 2024, ECF 140-9 and 140-10. The next

 day, October 16, 2024, Plaintiffs issued a “Dropbox” link for six folders to all

 defense counsel, including DWJBA. All six folders were downloaded by DWJBA

 counsel Gregory Longworth on October 16.

       As to DWJBA and CAYMC, those six folders contained 426 photographs of

 the CAYMC, Skywalk, Spirit and Flag Plazas, adjacent streets, and the Ford

 Auditorium Garage (Ford is admittedly not DWJBA property, but it is part of the

 “path of travel” for public to the CAYMC). One of the folders also contained 47

 separate articles or audio files responsive to DWJBA requests.




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       On October 28, 2024, Plaintiffs supplemented the responses by issuing

 another link to a total of ten folders, again to all defense counsel, including DWJBA.

 These ten folders were also downloaded by DWJBA counsel Gregory Longworth on

 October 28, 2024. One of these folders supplemented an October 16, 2024 folder by

 adding one photograph to bring the total in that folder to 250 photographs pertaining

 to the CAYMC and DWJBA, to wit, a photograph of the non-compliant City Early

 Voting Center which has a non-compliant counter and doorway and opens onto the

 public hallway on the first floor of the CAYMC. See Exhibit 12.

       Two of the new folders produced October 28, 2024 added 115 photographs

 pertaining to DWJBA and the CAYMC. A third folder contained the photographs of

 “comparable mostly compliant examples, as requested in one of the DWJBA

 discovery requests, including for example the attached Exhibit 20, an emergency,

 designated “Area of Refuge” in a multi-story public building in another state, which

 is absent in the CAYMC. The other seven folders contained 335 other photographs

 pertaining to non-CAYMC/DWJBA discovery.

       Attached is Plaintiffs’ counsel’s response to DWJBA’s counsel Attorney

 Longworth’s “out of office until October 21, 2023” email, which includes relevant

 communications as to Plaintiffs’ need for an extension of the discovery response

 deadline. Exhibit 28. DWJBA did not object to the delay, but instead, after several

 other exchanges described in the email, wrote: “If we don’t receive full and complete

 responses promptly, we will have no option but to file a motion to compel


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 discovery.” Id. at 1-2. Plaintiff’s counsel Attorney Bartnik responded that same

 day:

               Thank you, we are finishing the final edits and anticipate
               delivering to you this afternoon the documents requested
               of both Jill Babcock and Marguerite Maddox and the
               Answers of Jill Babcock to Interrogatories. Marguerite
               Maddox’ Answers to Interrogatories are also being
               targeted for delivery today, though that item may not be
               complete until tomorrow.

 Id. at 1. Plaintiffs’ counsel provided the responses to DWJBA’s counsel later that

 day, and Attorney Longworth downloaded the files the next day. As will be detailed

 in this Brief, Plaintiffs’ responses complied with the relevant Federal Rules of Civil

 Procedure, and DWJBA failed to comply with its requirements under Local Rule 7.1

 before filing its Motion.

                              STANDARD OF REVIEW
         Plaintiffs agree with the portions of the Federal Rules of Civil Procedure cited

 by DWBJA in the Standard section of its Brief. ECF No. 140 at 3-4.

                                     ARGUMENT

    I.      DWJBA FAILED TO COMPLY IN GOOD FAITH WITH L.R. 7.1
         Local Rule 7.1(a)(1) requires:

               Before filing a motion relating to discovery, the movant
               must comply with Federal Rule of Civil Procedure
               37(a)(1). Otherwise, the movant must ascertain before
               filing whether the contemplated motion or request under
               Federal Rule of Civil Procedure 6(b)(1)(A) will be
               opposed. To accomplish this, the movant must confer with
               the other parties and other persons entitled to be heard on


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                the motion in good faith and in a manner that reasonably
                explains the basis for the motion and allows for an
                interactive process aimed at reaching agreement on the
                matter or those aspects of the matter that can be resolved
                without court intervention, given the nature of the
                contemplated motion.

 (Emphasis added). DWJBA failed to comply with this requirement. As evidenced

 by its own exhibit, DWJBA sent Plaintiffs’ counsel an email noting only the

 following discovery issues:

    • “There is little in the way of substance in the answers”

    • “Plaintiffs Babcock and Maddox have not ‘signed’ the interrogatory answers

       as required by Rule 33(b)(5), unless you are asserting that their signatures are

       not required because the party answering the interrogatories is required to sign

       only ‘answers’ while the party’s attorney signs objections.”

    • “The objections throughout are invalid, in our opinion, and not made in good

       faith”

    • “Rule 34(b)(2)(C) requires you to state whether or not you have withheld any

       documents on account of your objections; your responses fail to provide this

       information.”

 ECF No. 140-1 at 1. On October 22, 2024, counsel for DWJBA and for Plaintiffs

 held a phone conference related only to the above issues.          During the phone

 conference, counsel for Plaintiffs attempted to seek additional information about

 what specifically DWJBA was objecting to with respect to “lack of substance in the



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 answers,” which objections specifically it felt were invalid and not made in good

 faith. DWJBA was unable to provide sufficient specificity to Plaintiffs to answer

 these questions.1 Further, DWJBA has at no time conferred with Plaintiffs on any

 of the following issues:

     • Whether Plaintiffs waived their objections to DWJBA’s discovery requests

     • Whether and which of Plaintiffs’ objections to DWJBA’s discovery requests

           are frivolous and meritless and why

     • Whether and which of Plaintiff’s objections to DWJBA’s discovery responses

           are substantively deficient and why

     • Investigation records

     • Miscellaneous requests

 DWJBA failed to confer with Plaintiffs in good faith and in a manner that reasonably

 explained the basis for the motion and would have allowed for an interactive process

 aimed at reaching agreement on the matter or any aspects of the matter that could

 have been resolved without court intervention. Therefore, pursuant to L.R. 7.1, this

 Court must deny DWJBA’s Motion.


     II.      MOTION TO COMPEL DISCLOSURE




 1
  Given that DWJBA’s Motion argues, in part, that Plaintiffs are in violation of the Federal Rules
 of Civil Procedure due to a lack of specificity with respect to their damages, it is puzzing that it
 did not or could not comply with its own specificity obligations under L.R. 7.1.

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        As Plaintiffs have repeatedly explained to DWJBA, and as their initial

 disclosures clearly indicate, Plaintiffs do not have sufficient information at this point

 in the litigation to provide a specific computation of damages. See ECF No. 140-11

 at 13; Exhibit 1.2 The. 1980 Advisory Committee addressed damages specifically:

                The elements of Rule 26(b)(1)(iii) address the problem of
                discovery that is disproportionate to the individual lawsuit
                as measured by such matters as its nature and complexity,
                the importance of the issues at stake in a case seeking
                damages, the limitations on a financially weak litigant to
                withstand extensive opposition to a discovery program or
                to respond to discovery requests, and the significance of
                the substantive issues, as measured in philosophic, social,
                or institutional terms. Thus the rule recognizes that many
                cases in public policy spheres, such as employment
                practices, free speech, and other matters, may have
                importance far beyond the monetary amount involved.
                The court must apply the standards in an even-handed
                manner that will prevent use of discovery to wage a war of
                attrition or as a device to coerce a party, whether
                financially weak or affluent.

 Fed. R. Civ. P. 26(b) advisory committee’s note to 1980 amendment.

        As both the Complaint and numerous discussions among the parties in presuit

 meetings, mediation, and other fora over the last five years have made clear, the

 Plaintiffs’ primary objectives in this case are not damages related. They are most

 interested in ensuring that they and other individuals with disabilities can access

 certain municipal buildings as the law promises. Plaintiffs are in the process of



 2 Plaintiffs are unclear as to why DWJBA did not attach Plaintiffs’ most recent initial disclosures,

 which were served upon all counsel on May 28, 2024.

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 trying to assign numbers to the harms they have suffered but have not completed

 that process. This is explicitly anticipated by Fed. R. 26: “A party must make its

 initial disclosures based on the information then reasonably available to it.” Fed. R.

 Civ. P. 26(E). Plaintiffs do not have information reasonably available to them to put

 a dollar amount on the harms they have suffered at this point, but will do so as soon

 as they can, as they explicitly stated in their initial disclosures. ECF No. 140-11 at

 14.

       DWJBA argues, “Plaintiffs’ failure to make good on its initial-disclosure

 obligation has real consequences for DWJBA because DWJBA intends to file a

 dispositive motion, which requires proof that Babcock and Maddox have suffered

 no recoverable damages….” ECF No. 140 at 5. Plaintiffs do not disagree that

 DWJBA will need information about their damages prior to filing a dispositive

 motion. However, pursuant to the Amended Scheduling Order, discovery does not

 end until March 7, 2025, and dispositive motions are not due until April 11, 2024.

 ECF No. 117 at 1-2. Rule 26 anticipates that parties may need to supplement or

 amend their initial disclosures as discovery progresses:

              In General. A party who has made a disclosure under Rule
              26(a)—or who has responded to an interrogatory, request
              for production, or request for admission—must
              supplement or correct its disclosure or response:

              (A) in a timely manner if the party learns that in some
                 material respect the disclosure or response is
                 incomplete or incorrect, and if the additional or
                 corrective information has not otherwise been made


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                 known to the other parties during the discovery process
                 or in writing...

 Fed. R. Civ. P. 26(e)(1). This is exactly what Plaintiffs intend to do, as they have

 repeatedly communicated to DWJBA.

       With respect to DWJBA’s claim that it needed information about damages for

 the November 15, 2024, settlement conference, Judge Patti spent approximately 3

 hours with DWJBA and other defendants and then met with Plaintiffs after that time,

 with a proposed plan for moving forward. No apparent harm was caused to DWJBA

 and Judge Patti did not ask Plaintiffs for specific information about damages for

 discussions with the defendants to proceed. Regardless, that date has now passed,

 and DWJBA has provided no evidence of harm to it because of a lack of specific

 damages information on November 15, so the argument is now moot.

       Plaintiffs have not engaged in any “non-compliance” and are fully in

 compliance with Fed. R. Civ. P. 26. Therefore, DWJBA’s Motion must be denied.

    III.   MOTION TO COMPEL DISCOVERY RESPONSES

       Plaintiffs have responded, and will continue to respond, in good faith to

 DWJBA’s discovery requests.      Plaintiffs responded and objected to DWJBA’s

 Requests for Admission on October 4, 2024. See ECF Nos. 140-5 and 140-6.

 Plaintiffs responded and objected to DWJBA’s Interrogatories and Request for

 Production of Documents on October 15, 2024. See ECF Nos. 140-9 and 140-10.




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        This case concerns a very large Title II public building owned by DWJBA,

  which in turn is owned by the City and the County. The sheer volume of information

  makes it much more feasible to refer to documentary evidence, rather than to narrate

  a written response to each of the 225 requests. DWJBA itself produced over 1000

  pages rather than attempt narratives in its response to Plaintiffs’ discovery request.

        Nevertheless, as required by Fed. R. Civ. P. 33(b)(2)(B), Plaintiffs made the

  responsive production within “another reasonable time specified in the response,” to

  wit, the next business day October 16, 2024, proving six electronic folders of

  responsive documentation. As to DWJBA and CAYMC, those six folders contained

  426 photographs of the CAYMC, Skywalk, Spirit and Flag Plazas, adjacent streets,

  and the Ford Auditorium Garage (Ford is admittedly not DWJBA property, but it is

  part of the “path of travel” for public to the CAYMC). One of the folders also

  contained 47 separate articles or audio files responsive to DWJBA requests.

        Then, on October 28, 2024, Plaintiffs supplemented their responses by

  providing ten folders to all defense counsel, including DWJBA. These ten folders

  were also downloaded by DWJBA counsel Gregory Longworth on October 28,

  2024. One of these folders supplemented an October 16, 2024 folder by adding one

  photograph to bring the total in that folder to 250 photographs pertaining to the

  CAYMC and DWJBA, to wit, a photograph of the non-compliant City Early Voting

  Center which has a non-compliant counter and doorway and opens onto the public

  hallway on the first floor of the CAYMC. (See attached Exhibit 1).


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        Two of the new folders produced October 28, 2024 added 115 photographs

  pertaining to DWJBA and the CAYMC. A third folder contained the photographs of

  “comparable mostly compliant examples, as requested in one of the DWJBA

  discovery requests, including, for example, Exhibit 20, which depicts an emergency,

  designated “Area of Refuge” in a multi-story public building in another state, which

  is absent from CAYMC. The other seven folders contained 335 other photographs

  pertaining to non-CAYMC/DWJBA-related discovery. Those photographs and

  other items are responsive to DWJBA’s discovery requests and comply with Fed. R.

  Civ. P. 33(b)(2)(B).

        Each of Plaintiff’s responses to DWJBA’s Interrogatories 1 through 11, and

  Document Requests 1 through 4 and 7 through 24 concludes with applicable

  variations under Fed. R. Civ. P. 33(b)(2)(B) of either “the requested information is

  detailed in (a specific paragraph in the pleadings), or “(s)ubject to and without

  waiving these objections, please refer to the documents and photographs produced

  simultaneously with this discovery request,” or “further answered in the documents

  and photographs supplied to DWJBA by Plaintiffs in response to this Document (or

  Discovery) Request”, or “elsewhere in the pleadings and other discovery responses”,

  or “by any physical or visual observation of the premises by any other person,” or

  finally, a specific reference to another answer or objection to a specific interrogatory

  or document request or admission request where the information or the objection




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  was already “asked and answered” pursuant to Fed. R. Evid. 403 and 611(a)(2)

  (duplicative and causes undue delay):

      • As to Jill Babcock’s Answers to Interrogatories 1-11, see ECF no. 140-9,

         PageIDs 2523, 2525-2530, 2532-2535.

      • As to Marguerite Maddox’s Answers to Interrogatories 1-11, see ECF No.

         140-10, PageIDs 2553, 2555-2563.

      • As to Marguerite Maddox’s Answers to Document Requests 1-4, 7-12, 14 and

         23, see ECF no. 140-10, PageIDs 2563-2571, 2575.3

      • As to Jill Babcock’s Answers to Document Requests 1-4, 7-12, 14 and 23, see

         ECF no. 140-9, PageIDs 2563-2571, 2575.

         DWJBA’s discovery requests collectively contain over 179 pages, 45

  document production requests, 25 admission requests, 115 interrogatories to Jill

  Babcock, (counting 5 subparts and 22 pleading paragraphs in Interrogatory Number

  2), and 24 interrogatories to Marguerite Maddox (containing 5 subparts and

  references to 8 pleading paragraphs in Interrogatories 2 and 3). See ECF 140-2 and

  140-3.

         Plaintiffs produced 575 items in response to DWJBA’s discovery requests and

  an additional 335 items relating to other non-CAYMC locations which are relevant


  3
   Marguerite Maddox was not a member of the ad hoc committee, so objection on that and other
  grounds are stated in her responses to the seven separate Requests for Production of Documents,
  which are repetitive, cumulative, and burdensome requests. See DWJBA’s RFPs 5, 6, 15, 16, 17,
  18 and 19, ECF no. 140-10 at PageIDs 2566, 2571-2574.

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  to the case. Of more than 200 discovery requests by DWJBA, there are only about a

  dozen to which an outright objection was made without reference to attached

  documents, so principles of deductive reasoning would seem to make it self-evident

  what was not being produced.

        A sampling of these photographs and documents are attached to this Response

  as Exhibits. In addition to the two photographs already mentioned, Exhibits 2 to 19

  depict some of the egregious violations in the CAYMC owned by the DWJBA,

  whether the violation is located in DWJBA’s self-defined, self-serving definition of

  “common areas.” These include the parking and drop-off area at the Larned entrance,

  which is mostly compliant, but which is closed to the public, Exhibit 3. Exhibit 2

  depicts the Larned entrance with a center ramp leading to the revolving doors,

  thereby destroying the free and clear route of travel by requiring a person in a

  wheelchair to navigate through pedestrian traffic from the staircase to arrive at the

  accessible door on the right side.

        Exhibits 4 depicts one of many “handicapped restrooms in basement” signs

  located on the walls of many public hallways.

        Exhibits 5 through 11 depict non-compliant toilet room facilities, including a

  sample entrance door; sample non-compliant toilet rooms; sample non-compliant

  toilet stalls; sample non-complaint dispensers for soap, toilet paper and paper towels;

  and one toilet stall which is arguably compliant.




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        These samples, along with the several hundred other produced photographs,

  answer the question of which architectural barriers exist which deny or delay or

  discriminate against Plaintiffs with disabilities attempting to access the public court

  and government activities, programs, and services of the four defendants in the

  building owned by DWJBA. They support Plaintiffs’ objections to the definition of

  “common areas” and support all the Plaintiffs’ other responses and objections.

  Exhibit 26 and 27 include articles on ADA and Toilets, and the requested statistical

  evidence from the CDC as to the estimated number of adults with disabilities.

  Exhibits 21 through 23 are articles quoting either Jill Babcock or Marguerite

  Maddox and documenting their attendance and participation in multiple meetings in

  CAYMC. Exhibit 25 is the landing page of the Hines, the DWJBA agent, touting

  that it had saved “over $6,000,000.00 in annual operating costs.” Exhibit 24 is an

  article from 2018 announcing DWJBA and CAYMC had received a national award,

  although that award failed to even address ADA or PWDCRA accessibility

  standards. Plaintiffs even supplied items in response to DWJBA’s RFP 7 despite

  their objection that it was “not a complete sentence or question and appear[ed] to

  seek ‘DWJBA’s public records and announcements’ which are already in (its)

  possession and includes materials that Plaintiff has sought through ongoing

  discovery requests.” ECF No. 140-9, PageID.2539.

        For these reasons, Plaintiffs have responded, and will continue to respond, in

  good faith to DWJBA’s discovery requests, and DWJBA’s Motion must be denied.


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            A. Alleged procedural deficiencies

                    1. Signatures on interrogatories

        Plaintiffs appreciate DWJBA sharing, for the first time in its Brief, authority

  that supports requiring a party signature on interrogatory responses as opposed to an

  attorney’s signature. As Attorney Abdnour explained to DWJBA’s counsel during

  the October 22, 2024, call, it was her common practice over the last 17 years of

  practicing law to sign interrogatory requests for her clients as she was “the

  person…mak[ing] the answers” per the clear language of Fed. R. Civ. P. 33(b)(5),

  and she had never had opposing counsel question that, but that she would be happy

  to review any authority DWJBA could provide on the issue. Attorney Longworth

  replied that in his 30 years of law practice, he had always received interrogatories

  signed by parties. No subsequent communication was exchanged on this topic until

  DWJBA filed its Motion.

        The case DWJBA cites in its Motion, United States v. Quebe, 321 F.R.D. 303,

  309 (S.D. Ohio 2017), was decided in the U.S. District Court for the Southern

  District of Ohio and is therefore not binding upon this Court. DWJBA’s Motion

  provides no other case law for Plaintiffs to review. ECF No. 140 at 7. In preparing

  this Brief, Plaintiffs’ counsel researched this issue to try to find binding case law but

  was unable to find anything on point, although the search was not exhaustive due to

  time and resource constraints, and it is possible that such authority exists.




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        Therefore, DWJBA’s Motion must be denied as it failed to confer with

  Plaintiffs in good faith and in a manner that reasonably explained the basis for the

  motion and would have allowed for an interactive process aimed at reaching

  agreement on the matter or any aspects of the matter that could have been resolved

  without court intervention. Regardless, in the interest of resolving this matter

  without further unnecessary expenditure of Court and counsel resources, Counsel

  for Plaintiffs will ask Plaintiffs to sign the interrogatory responses under oath and

  provide them to DWJBA as soon as possible.




                    2. Alleged withholding of documents

        While this item was noted in Attorney Longworth’s October 16, 2024, email,

  DWJBA’s counsel did not bring it up during the October 22, 2024, phone call.

  Therefore, Plaintiff’s counsel believed it was no longer an issue, and DWJBA’s

  Motion must be denied as it failed to confer with Plaintiffs in good faith and in a

  manner that reasonably explained the basis for the motion and would have allowed

  for an interactive process aimed at reaching agreement on the matter or any aspects

  of the matter that could have been resolved without court intervention. Regardless,

  in the interest of resolving this matter without further unnecessary expenditure of

  Court and counsel resources, Counsel for Plaintiffs will amend their discovery

  responses and provide them to DWJBA as soon as possible.



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                   3. Objections were not waived

        This issue was raised for the first time in DWJBA’s Motion. Therefore,

  DWJBA’s Motion must be denied as it failed to confer with Plaintiffs in good faith

  and in a manner that reasonably explained the basis for the motion and would have

  allowed for an interactive process aimed at reaching agreement on the matter or any

  aspects of the matter that could have been resolved without court intervention.




           B. DWJBA may not make arguments about the merit of Plaintiffs’
              objections

        These issues were raised for the first time in DWJBA’s Motion. Therefore,

  DWJBA’s Motion must be denied as it failed to confer with Plaintiffs in good faith

  and in a manner that reasonably explained the basis for the motion and would have

  allowed for an interactive process aimed at reaching agreement on the matter or any

  aspects of the matter that could have been resolved without court intervention.

           C. Plaintiffs’ discovery responses are sufficient and will be
              supplemented with additional information as it becomes available

        These issues were raised for the first time in DWJBA’s Motion. Therefore,

  DWJBA’s Motion must be denied as it failed to confer with Plaintiffs in good faith

  and in a manner that reasonably explained the basis for the motion and would have




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  allowed for an interactive process aimed at reaching agreement on the matter or any

  aspects of the matter that could have been resolved without court intervention.

         Further, a cornerstone of DWJBA’s arguments appears to be its insistence that

  Plaintiffs must use its definition of “common areas” and that Plaintiffs may not

  object to certain discovery requests based on a different interpretation of that phrase.

  ECF No. 140 at 16-18.        However, Plaintiffs are not required to assent to a

  misstatement of the law.

         The full text of Plaintiffs’ objection to that self-imposed definition

  demonstrate the factual and legal defects in DWJBA’s position and support

  Plaintiffs’ rationale:

                ANSWER: Objection is stated as to the vague term
                “Architectural Barrier in the Common Areas” and the
                reference to DWJBA’s Definition 12, “The term Common
                Areas means those areas of CAYMC shaded on the floor
                plans attached as Exhibit 1 and also includes the drop-off
                areas and public entrances to CAYMC”: although “Exhibit
                1” may be useful as a visual reference guide, “Exhibit 1”
                and the DLZ Accessibility Review Report from which it is
                extracted do not include the term “Common Areas” and
                instead use the terms “common use spaces” or “common
                elements”; “Exhibit 1” is not an architectural drawing;
                upon information and belief “Exhibit 1” is not the drawing
                or drawings scheduled, attached, or incorporated by
                reference into any instruments of conveyance, any
                certified architect plans or drawings, or any construction,
                maintenance or other contracts applicable to the CAYMC;
                “Exhibit 1” is not complete; “Exhibit 1” does not have any
                index of abbreviations or symbols or colors except at ECF
                No. 1-3, PageID.178 in which it depicts a green shaded
                box as “Area reviewed within the scope of this project”
                and described in more detail at page 3 (ECF No. 1-3,


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                PageID59) of the Accessibility Review Report including
                the yellow box showing the borders of “Randolph St E.
                Jefferson Ave Woodward Ave and Larned St”, from which
                “Exhibit 1” was extracted. Subject to and without waiving
                the objections, Plaintiffs can neither admit nor deny due to
                lack of knowledge or information needed to form a belief;
                at this time, we have no information beyond that which is
                stated in the pleadings as to which person or persons have
                denied her the right to participate in jury duty.

  Objection to Request to Admit 9, ECF No. 140-5, “architectural barriers in the

  common areas discussion.”

         The question of what constitutes a “common area” is a hotly debated factual

  and legal issue between the parties, and Plaintiffs’ objection to DWJBA’s definition

  is well within the bounds of appropriate objections. Therefore, DWJBA’s Motion

  must be denied.


            D. DWJBA may not make arguments about investigation records4

         These issues were raised for the first time in DWJBA’s Motion. Therefore,

  DWJBA’s Motion must be denied as it failed to confer with Plaintiffs in good faith

  and in a manner that reasonably explained the basis for the motion and would have

  allowed for an interactive process aimed at reaching agreement on the matter or any

  aspects of the matter that could have been resolved without court intervention.

            E. DWJBA may not make miscellaneous requests5



  4 This section appears as a second Section C in DWJBA’s Brief.
  5 This section appears as Section D in DWJBA’s Brief.



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        These issues were raised for the first time in DWJBA’s Motion. Therefore,

  DWJBA’s Motion must be denied as it failed to confer with Plaintiffs in good faith

  and in a manner that reasonably explained the basis for the motion and would have

  allowed for an interactive process aimed at reaching agreement on the matter or any

  aspects of the matter that could have been resolved without court intervention.




                                   CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request that the Court deny

  DWJBA’s Motion.



                                        Respectfully Submitted,

  Dated: November 27, 2024                /s/ Michael W. Bartnik
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                           CERTIFICATE OF SERVICE

        I, Michael W. Bartnik, counsel for Plaintiffs, certify that on November 27,
  2024, I filed this document by use of this Court’s ECF system, which will serve
  copies to all counsel of record.

                                        /s/ Michael W. Bartnik
                                        Michael W. Bartnik




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